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8                            UNITED STATES DISTRICT COURT
9                           CENTRAL DISTRICT OF CALIFORNIA
10
     Samuel Love,                      ) Case: 5:15-cv-00002-JGB-SP
11                                     )
             Plaintiff,                )ACKNOWLEDGMENT OF FULL
12                                     )SATISFACTION OF JUDGMENT
      v.                               )
13
     Guillermo Ocampo, et al.          )
                                       )
14
             Defendants.               )
                                       )
15                                     )
                                       )
16                                     )
17         Judgment Creditor, SAMUEL LOVE, hereby acknowledges acceptance of full

18   Satisfaction of the Judgment entered on October 20, 2015, in the amount of
19   $27,252.50 against the Defendants.
20         Full satisfaction is hereby acknowledged, and the Clerk of the Court is authorized
21
     and directed to make an entry of the full and complete satisfaction on the docket of said
22
     judgment.
23
24
     Dated: March 23, 2016                             CENTER FOR DISABILITY ACCESS
25
                                                       By: /s/ Dennis Price
26
                                                       Dennis Price
27                                                     Attorney for Plaintiff
28


     Acknowledgment of Satisfaction of Judgment
